USCA4 Appeal: 23-1850         Doc: 43           Filed: 04/01/2024         Pg: 1 of 2




                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                     CERTIFICATE OF CONFIDENTIALITY, LOCAL RULE 25(c)

        No. 23-1850,2038        Caption: Honeywell International, Inc., et al. v. OPTO Electronics Co., Ltd.

        Appellants Honeywell International Inc., Hand-Held Products, Inc., and Metrologic Instruments, Inc.
                             (appellant, appellee, petitioner, respondent, other)

        certifies the following information regarding sealing of the document(s) described below:

        1. Identify document(s) filed (e.g., sealed appendix volume, sealed version of brief):

           Sealed Plaintiffs-Appelants' Opening Brief

        2. Is sealing of document(s) necessary?

                [ ] No
                [ ✔ ] Yes, to protect material sealed under the Privacy Policy for Electronic Case Files, or
                      by statute, rule, regulation, or order

        3. Date(s) of order(s) sealing the material or, if there is no order, the authority relied upon to treat
        the material as sealed:

        ______________________________________________________________________________
        7/20/22 (Protective Order); Orders 1/10/22; 2/23/23; 3/6/23; 3/10/23; 3/16/23; 3/17/23; 3/23/23; 3/30/23;
        ______________________________________________________________________________
        3/31/23; 4/11/23; 5/2/23; 5/16/23; 5/23/23; 6/22/23; 7/7/23; 7/11/23; 8/4/23; 8/18/23; 9/1/23; 9/13/23

        4. Terms of order sealing the material, including who is permitted access to sealed material (if
        filed ex parte, document must be marked SEALED and EX PARTE):

        ______________________________________________________________________________
        The information in the sealed joint appendices include confidential business information such as a
        ______________________________________________________________________________
        confidential agreement between the parties and sales data. The material is accessible to outside counsel

        5. (For SEALED APPENDIX) Sealed record material has been separated from any unsealed
        record material and placed in a separate, sealed volume of the appendix.

                [ ] Yes

        6. (For SEALED BRIEFS, SEALED DOCUMENTS) Two versions of document are filed:
        Sealed version with sealed material highlighted and public version with sealed material redacted.

                [✔ ] Yes




        01/15/2020 SCC                                   1 of 2
USCA4 Appeal: 23-1850        Doc: 43          Filed: 04/01/2024       Pg: 2 of 2




                                        CERTIFICATE OF SERVICE



                           April 1, 2024
        I certify that on _________________     the sealed document(s) identified in this Certificate of
        Confidentiality were served on the following parties or counsel of record outside of CM/ECF at
        the addresses listed below. Service may be made by direct email or other electronic means with
        the prior written consent of the party to be served. In consolidated criminal cases, identify which
        sealed appendix volumes were served on each party or attorney.

        Brian D. Schmalzbach                               York M. Faulkner
        McGuireWoods LLP                                   YMF Law
        Gateway Plaza                                      Tensho Bldg., 7F, Suite 711
        800 East Canal Street                              3-17-11 Shibaura, Minato-ku
        Richmond, VA 23219                                 Tokyo, Japan 108-0023
                                                           york.faulkner@ymf-law.com




              s/ Kirk T. Bradley
        ___________________________                            ________________________
                                                                      April 1, 2024
             Signature                                                       Date




                                                      2 of 2
